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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG              :    MDL NO. 2179
       "DEEPWATER HORIZON" in the            :
       GULF OF MEXICO, on                    :    SECTION: J
       APRIL 20, 2010                        :    JUDGE BARBIER
                                             :    MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:                    :
All Cases                                    :    JURY TRIAL DEMANDED
                                             :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..

                                         ORDER

              Considering the foregoing Motion of Cameron International Corporation for

Leave to File Briefs Regarding Pure Stigma Claims, BP Dealer Claims and Recreation Claims;

              IT IS ORDERED that the Motion be and the same hereby is GRANTED.

Defendant, Cameron International Corporation is hereby granted leave to file its Briefs

Regarding Pure Stigma, BP Dealer and Recreation Claims.

              New Orleans, Louisiana, this ______ day of July, 2012.



                                           ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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                                                                                     1098929v.1
